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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                         CASE NO. 24-cv-22632-JB

 BEVAN J. MCCOY,

           Plaintiff,

 v.

 NCL (BAHAMAS) LTD.,

           Defendant.
                                            /

                            AMENDED JOINT SCHEDULING REPORT

             Plaintiff, BEVAN J. MCCOY, and Defendant, NCL (BAHAMAS) LTD. (“NCL”), by
  and through undersigned counsel, file this Joint Scheduling Report pursuant to the requirements
  of Fed. R. Civ. P. 26(f)(3), Local Rules 16.1(b)(2) and (3) and this Court’s Order Regarding
  Procedures [DE 4], the Parties respectfully submit the following report, and state as follows:
      A. LIKELIHOOD OF SETTLEMENT
           Settlement negotiations have not yet begun as this case is in its preliminary stages. The
 parties agree to engage in settlement negotiations and will discuss an amicable resolution to this
 matter.
      B. LIKELIHOOD OF APPEARANCE OF ADDITIONAL PARTIES

           At this time, the parties do not anticipate the appearance of additional parties.
      C. PROPOSED LIMITS ON THE TIME
                   a. TO JOIN OTHER PARTIES AND TO AMEND THE PLEADINGS;
                   b. TO FILE AND HEAR MOTIONS; AND
                   c. TO COMPLETE DISCOVERY
           See Proposed Joint Schedule attached hereto as Exhibit “A.”
      D. PROPOSALS FOR THE FORMULATION AND SIMPLIFICATION OF ISSUES,
           ETC.
           The Parties anticipate they will file motions for summary judgment following the


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 conclusion of discovery. The pre-trial stipulation, as required by Local Rule 16.1(e), will provide
 a concise statement of issues of law and a concise statement of uncontested facts, which will
 require no proof at trial. This should further aid the Court in simplifying the issues, obtaining
 admissions of facts, and avoiding unnecessary proof at trial.
    E. THE      NECESSITY         OR     DESIRABILITY            OF    AMENDMENTS          TO   THE
        PLEADINGS
        None at this time.
    F. POSSIBILITY OF OBTAINING ADMISSIONS OF FACT, AND OF OBTAINING
        DOCUMENTS, ELECTRONICALLY STORED INFORMATION, OR THINGS
        WHICH WILL AVOID UNNECESSARY PROOF, ETC.

        The Parties will work together to discuss stipulations with respect to the admissions of fact
 and documents, as well as possible stipulations regarding the authenticity of documents to avoid
 unnecessary proof.
    G. SUGGESTIONS            FOR AVOIDANCE                OF UNNECESSARY PROOF AND
        CUMULATIVE EVIDENCE

        The Parties will continue in good faith to discuss ways of obtaining admissions and
 stipulations about facts and documents to avoid unnecessary proof and ruling in advance on the
 admissibility of evidence.
    H. SUGGESTIONS ON THE ADVISABILITY OF REFERRING MATTERS TO A
        MAGISTRATE JUDGE OR MASTER

        At this time, the Parties do not agree to refer any matters to the Magistrate Judge. As to
 any matters heard by a Magistrate Judge, including those referred by this Court, the Parties reserve
 the right to appeal decisions of the Magistrate Judge to the District Court Judge.
    I. PRELIMINARY ESTIMATE OF TIME REQUIRED FOR TRIAL
        The parties anticipate that the trial will last five to seven days.
    J. REQUESTED DATE OR DATES FOR CONFERENCE BEFORE TRIAL, FINAL
        PRETRIAL CONFERENCE, AND TRIAL

        See attached Proposed Joint Scheduling Report.
    K. ANY ISSUES ABOUT DISCLOSURE, DISCOVERY, OR PRESERVATION OF
        ELECTRONICALLY STORE INFORMATION, CLAIMS OF PRIVILEGE OR


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        OF PROTECTION
        None at this time.
    L. ANY OTHER INFORMATION THAT MAY BE HELPFUL TO THE COURT IN
        SETTING THE CASE FOR STATUS OR PRETRIAL CONFERENCE
        See Proposed Joint Schedule attached hereto as Exhibit “A.”

 DATED: August 16, 2024

 Respectfully submitted,

 By: /s/_Elizabeth Irazabal__                 By: /s/ Todd L. Sussman
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  Counsel for Plaintiff




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                      CASE NO: 24-cv-22632-JB

 BEVAN J. MCCOY,

        Plaintiff,

 v.

 NCL (BAHAMAS) LTD.,

       Defendant.
 _________________________________________/

            AMENDED SCHEDULE JOINTLY PROPOSED BY THE PARTIES

        THIS MATTER is set for trial for the two-week period beginning [September 29,
 2025]. Calendar call is to be held on Tuesday, September 23, 2025 at 10:00 am. The Parties
 propose a Standard track. The Parties propose to adhere to the following schedule:

  October 15, 2024        All motions to join additional parties and amend the complaint must be
                          filed.

  January 30, 2025        Parties shall exchange a written list containing the names, addresses and
                          summaries/reports of any expert witnesses intended to be called at trial.
                          Only those expert witnesses listed shall be permitted to testify. The
                          summaries/reports shall include the information required by Fed. R. Civ.
                          P.26 (a)(2): lists of the expert’s qualifications to be offered at trial,
                          publications and writing, style of the case and name of court and judge in
                          cases in which the expert has previously testified and the subject of that
                          expert testimony, the substance of the facts and all opinions to which the
                          expert is expected to testify, and a summary of the grounds for each
                          opinion.

  February 28, 2025       Parties shall exchange a written list containing the names, addresses and
                          summaries/reports of any rebuttal expert witnesses intended to be called at
                          trial. Only those expert witnesses listed shall be permitted to testify. The
                          summaries/reports shall include the information required by Fed. R. Civ. P.
                          26(a)(2): lists of the expert’s qualifications to be offered at trial,
                          publications and writings, style of case and name of court and judge in cases
                          in which the expert has previously testified and the subject of the expert
                          testimony, the substance of the facts and all opinions to which the expert is

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                           expected to testify, and a summary of the grounds for each opinion.

  March 31, 2025           All discovery shall be completed.

  April 7, 2025            Mediation shall be completed.

  May 30, 2025             All dispositive pretrial motions and memoranda of law, as well as any
                           motions to exclude or limit proposed expert testimony must be filed. Any
                           Daubert motion shall be accompanied by appropriate affidavits. If any
                           party moves to strike an expert affidavit filed in support of a motion for
                           summary judgment [for reasons stated in Daubert v Merrill Dow
                           Pharmaceuticals, Inc., 509 U.S. 579 (1993)], the motion to strike shall be
                           filed with that party’s responsive memorandum.

  August 8, 2025           All pretrial motions and memoranda of law must be filed.
  September 16, 2025       Parties must file Joint Pretrial Stipulation, as set forth herein.


 DATED: This 16th day of August 2024.

 Respectfully submitted,

 By: /s/_Elizabeth Irazabal______                By: /s/ Todd L. Sussman
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  Counsel for Plaintiff




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